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                           IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE:                                     :        BANKRUPTCY CASE NO. 17-11351-TPA
                                           :
         Milton Wallace,                   :        CHAPTER 13
                        Debtor,            :
         ________________________________ :         DOCKET NO.: 50
         PNC Bank, N.A.,                   :
                        Movant,            :
                                           :
                        vs                 :
                                           :
         Milton Wallace,                   :
                                           :
                        And                :
                                           :
         Ronda J. Winnecour, Esquire,      :
                        Chapter 13 Trustee :
                         Respondents.      :

 DEBTOR’S OBJECTION TO MORTGAGE PAYMENT CHANGE OF PNC BANK, N.A, AT CLAIM NUMBER 10


       AND NOW comes the Debtor, Milton Wallace, by and through his attorney, DANIEL P. FOSTER, of
FOSTER LAW OFFICES, and files the within DEBTOR’S OBJECTION TO MORTGAGE PAYMENT CHANGE OF
PNC BANK, N.A. and in support thereof, aver as follows:

   1. On February 13, 2018, the Debtor filed a Voluntary Petition in Bankruptcy under Chapter 13 of
      the Bankruptcy Code.

   2. PNC Bank, N.A. filed a Notice of Mortgage Payment Change in this instant case on November 26,
      2021.

   3. PNC Bank, N.A. is now seeking a new monthly payment of $1,487.64 which consists of principal
      and interest. The difference ($717.94) appears to be an excessive.

   4. Debtor objects to this Notice of Mortgage Payment Change as the escrow shortage/recoupment
      is unreasonable four years into the bankruptcy case. The new payment requirement is
      unreasonable given the debtors budget.

   WHEREFORE, the Debtor respectfully prays that this Honorable Court DENY the Mortgage Payment
Change filed by PNC Bank, N.A.
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Date: December 14, 2021                                Respectfully Submitted,

                                                       /s/ Daniel P. Foster, Esquire
                                                       Daniel P. Foster, Esquire
                                                       PA ID 92376
                                                       FOSTER LAW OFFICES
                                                       1210 Park Avenue
                                                       Meadville, PA 16335
                                                       Phone: 814.724.1165
                                                       Fax: 814.724.1158
                                                       Dan@MrDebtBuster.com
                                                       Attorney for Debtor
